
ORDER ON MANDATE
PER CURIAM.
WHEREAS, the judgment of this court was entered on November 2,1976 (338 So.2d 910) affirming the order of the Circuit Court of Dade County, Florida in the above styled cause, and
WHEREAS, on review of this court’s judgment, by certiorari, the Supreme Court of Florida by its opinion and judgment filed September 29,1977, 350 So.2d 466 and mandate now lodged in this court quashed a portion of this court’s judgment,
NOW, THEREFORE, It is Ordered that the mandate of this court issued in this cause on November 18, 1976 is withdrawn, the opinion and judgment of this court filed November 2, 1976 insofar as it is in conflict with or fails to conform to the views expressed in the said opinion and judgment of the Supreme Court of Florida foresaid is withdrawn and vacated, and the said opinion and judgment of the Supreme Court of Florida is herewith made the opinion and judgment of this court, and the cause remanded to the trial court for further proceedings not inconsistent with the opinion and judgment of the Supreme Court of Florida. Costs allowed shall be taxed in the Circuit Court (Rule 3.16(b), Florida Appellate Rules).
